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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION



UNITED STATES OF AMERICA


VS.                          CASE NO. 4:04CR000141-02 JMM


GREG ROSS GUZZO


                                  AMENDED JUDGMENT

       Pending before the Court is defendant’s unopposed Motion for Early Termination From

Supervised Release. For good cause shown, the motion is granted (#846). The September 2,

2005 Judgment in this case is amended to reflect that the defendant Greg Ross Guzzo’s

supervised release is terminated as of the date of this Amended Judgment.

       The Clerk of the Court is directed to provide the United States Marshal and the United

States Probation Office with a copy of this Amended Judgment.

       IT IS SO ORDERED THIS 9th day of December, 2009.




                                                   James M. Moody
                                                   United States District Judge
